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									Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
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							Recent News &amp; Reports		
					
				10/19/16 – LAWLER DENIED STAY OF EXECUTION
						
					
				10/19/16 – SUPREME COURT APPOINTS CHIEF JUDGE SELF TO JQC
						
					
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